Case 18-26723     Doc 31-1     Filed 07/16/19 Entered 07/16/19 07:46:42           Desc Proposed
                                     Order Page 1 of 1
                            UNITED STATES BANKRUPTCY COURT
                             NORTHERN DISTRICT OF ILLINOIS
                                        Eastern Division

 In Re:                                      )             BK No.:     18-26723
 LEAH HURSTON,                               )
                                             )             Chapter: 13
                                             )
                                             )             Honorable Timothy A. Barnes
                                             )
                Debtor(s)                    )

              ORDER TO MODIFY CHAPTER 13 PLAN POST-CONFIRMATION

        THIS MATTER coming to be heard on the motion of the Debtor, the Court having jurisdiction
 over the parties and the subject matter and being duly advised in the premises and due notices having
 been given to th parties entitled thereto:

   It is hereby ORDERED:

   1) Debtor's Chapter 13 plan in modified in Part 3.5 to list Santander Consumer USA, for the 2014
 Chrysler 200, and surrender it.

   2) Payment already made to Santander Consumer USA shall be credited towards their minimum
 10% unsecured, non-priority balance. Payments already made shall not be extra payments to the
 creditor.




                                                          Enter:




 Dated:                                                            United States Bankruptcy Judge

 Prepared by:
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